Case 1:99-mc-09999 Document 576-2 Filed 07/15/24 Page 1 of 5 PageID #: 73670




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

 BOLD ST. PETERS, L.P.,         §
                                §
      Plaintiff,                §
                                §
 ~                              §                       C.A. NO. _ _ _ __
                                §
 BOLD ON BOULEVARD LLC, RCG     §
 BOLD GP LLC, BOLD              §
 APARTMENTS, LLC, RCG BOLD 1    §
 LLC, RCG BOLD 2 LLC, RCG BOLD §
 3 LLC, RCG BOLD 4 LLC, AND RCG §
 BOLD 5 LLC, AND NACHMAN Y.     §
 TEREN,                         §
                                §
      Defendants.               §

                        DECLARATION OF NATHAN COX

I, Nathan Cox, make the following declaration pursuant to 28 U.S.C § 1746:

       1.    I am counsel of record for Defendants RCG Bold GP LLC, Bold

Apartments, LLC, RCG Bold 1 LLC, RCG Bold 2 LLC, RCG Bold 3 LLC, RCG Bold 4

LLC, and RCG Bold 5 LLC ("Removing Defendants"). I have personal knowledge of,

or was supplied with documents or information from persons with knowledge

supporting, the facts stated herein.

      2.     In my role as counsel for the Removing Defendants, I received corporate

filings of several relevant entities in the above styled lawsuit.

      3.     Attached as Exhibit 1 is a true and correct copy is Bold St. Peters, L.P.'s

Certificate of Limited Partnership publicly on file with the state of Delaware.

      4.     Attached as Exhibit 2 is a true and correct copy is Bold GP, LLC's

Certificate of Formation publicly on file with the state of Delaware.


                                           1
Case 1:99-mc-09999 Document 576-2 Filed 07/15/24 Page 2 of 5 PageID #: 73671




      5.     Attached as Exhibit 3 is a true and correct copy is TWG GP IV, LLC's

business information publicly on file with the state of Indiana.

      6.     Under penalties of perjury, I declare that I have read the foregoing

Declaration and that the facts stated in it are true to the best of my knowledge.

      EXECUTED on July 15, 2024, by


                                                                             --




                                          2
Case 1:99-mc-09999 Document 576-2 Filed 07/15/24 Page 3 of 5 PageID #: 73672




                                                                        1
Case 1:99-mc-09999 Document 576-2 Filed 07/15/24 Page 4 of 5 PageID #: 73673




                                                                     2
Case 1:99-mc-09999 Document 576-2 Filed 07/15/24 Page 5 of 5 PageID #: 73674


                   3
                                                                                                   BUSINESS INFORMATION
                                                                                                          DIEGO MORALES
                                                                                                INDIANA SECRETARY OF STATE
                                                                                                     07/09/2024 04:22 PM




           Business Name: TWG GP IV, LLC                                                  Business ID: 201903011307956

              Entity Type: Domestic Limited Liability Company                          Business Status: Active

            Creation Date: 03/01/2019                                                    Inactive Date:


  Principal Office .jj
                   Address: 1301 East Indianapolis,
                                      Washington Street, SuiteUSA
                                                    IN,46202,  100                     Expiration Date: Perpetual

                                                                            Business Entity Report Due
  Jurisdiction of Formation: Indiana                                                                      03/31/2025


                                                                                           Years Due:


Govermne Person Information

Title       Name                  Address

Member      Justin R Collins      1301 East Washington Street, Suite 100, Indianapolis, IN,46202, USA
Member      Louis A. Knoble       1301 EAST WASHINGTON STREET,SUITE 100, Indianapolis, IN,46202, USA



                     Type: Business Commercial Registered Agent
                    Name: C T CORPORATION SYSTEM

                  Address: 334 North Senate Avenue, Indianapolis, IN,46204, USA
